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          EXHIBIT A
   Deposition of Quentin Heard
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                                                          Certified Copy Transcript




                      In The Matter Of:

Yvette Adelle Sanders et al vs. QuikTrip Corporation, and BJS
                          QT, LLC

                Deposition of Quintin Heard

                       October 3rd,2017




                                  {tr
                           AccuTranr Inc.
                   ---certified court reporters ---
                        707 Whitlock Avenue
                              Suite A42
                      Marietta, Georgia 30064
                            770-426-9705
                            770-426-9706
                    prod uction@accutrancr. com
                  www.accutra n co u rtrepo rters. co m
      Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 3 of 82
                                  Quintin
                                       Heard
                                                                        20

 1_     before the night of Andrewrs death, was iL in            t,he

 2      evening?

 3            A        I would say probably not because I
 4      was   a kid.
 5             A       So you were younger when you had been

 6      to that QuikTrip?
 7             A       I was completely younger. I was not
 I      even an adult, noL even 21.
 9             a       Before the night of Andrew's death,
l_0      as an adult and somebody over the age of 2I,           had

l_L      you been Lo that QuikTrip?
t2             A       NO.

1_3            O       You and Andrew were     at Follies that
L4       night?
15             A       CorrecL.
1-6            I       Had you been   to Follies before?
t7             A       No, not as an adult.
L8             a       Now,   you're supposed to be an adult
l_9      to get into Follies.       I'm not sure that     we want

20       to get into that.
2T             A       Yes. ThaL's a whoLe other subject.
22             a       So you had maybe been       to Follies   when

23       you werenrt supposed to when you were younger?
24             A       Correct.
25             a       Itm not sure I asked you, Quintin:



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                                         Heard
                                    Quint,in
                                                                          42

  t_      be told not to answer any questions, so you'11
 2        just answer the questions after that.
  3                    THE W]TNESS: SUTE.

  4                    MR. RUST:     Afso, I didnrt teIl      You,

  5       Quintin, any time you need t,o take a break, werre
  6       not       it's not an endurance contest.
  7       BY MR. RUST:

  8             a       What were you wearing        that night?
  9             A      A blue cashmere sweater, blue jeans,
1_0        and some Polo boots.
t_ l_           O       Did you go directly to the QuikTrip
t2         from Follies?
13              A       Yes.

1,4             A       How    did you get there?
L5              A       I drove in Terrencers vehicle.
I6              A       You said that was a Nissan?
I7              A       Yes, Maxima.
l_8             A       Who    went with   You?

L9              A       Andrew.

20              A       Anybody else?

2t              A       NO.

22              A       Antonio drove seParatelY?
 23             A       Yes.

 24             A       What was AnLonio driving?

 25             A       A black Mercedes -- or white Mercedes



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                              Quintin Heard
                                                                        52

l_            A        Yes.

2             A        There was a guY behind the counter?
3             A        Correct.
4             A        AnybodY else?

 5            A        There maY have been a wanderer
 5       cleaning, I think cleaning a spill next to the
 7       cappuccino machines, and there may have been
 I       another one taking trash.        So maybe   three total'
 9       BuL I think they were in-between a shift change,
L0       if I'm not mistaken.
1_L           A        I take it, Quintin, that based      on

T2       what happened inside the QT, nothing indicated to
l_3      you that there was a problem between Red Shoes
t4       and either You or You or Andrew?
1-5           A        NoL none   at all, [o.
t6            A        So as You were    leaving the QT, You
t7       didn't think there was any Problem?
t8            A        NO.

L9             A       So far as You knew, Red Shoes and

20       those other 9uYs, theY were        gone?

2l             A        Right. There was one straggler,         he

22       was paying     for a taquito, but he wasn'L a driver,
23       and I didn't get a good look at, him.
 24            A        Red Shoes, he was     getting a hotdog;
 25       right?   I   know he was complaining about Lhe bun,




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                                      Quint.in
                                       Heard
                                                                             94

 L                 CERTIFICATE OF COURT           REPORTER

 2       STATE OF GEORGIA

 3       COUNTY   OF   COBB

 4                I hereby certify that the foregoing
 5       deposition was reported as stated in the caption,
 5       and the questions and answers thereto were
 7       reduced Lo writing by         me;

 8                That. the witnessrs right. Lo read and
 9       sign the deposition was reserved;
10                That the foregoing pages             1-   through   93

t-L      represent a true, correct, and            compleLe

1_2      transcript of the evidence given on the
1-3      above-referenced date by the witness, QUINTIN
L4       HEARD, who was       first   duly sworn by         me;

t_5               That I      am   not of kin or counsel to           any

16       of the attorneys or parties in this case.
t7                 I do hereby disclose pursuant to Article
t_8      L0.8. of the     Rul-es and Regulations            of the   Board

t9       of Court Reporting of the Judicial Council of
20       Georgia that f am a Georgia Certified Court
2t       Reporter; t.hat AccuTran, Inc., was contacted by
22       t.he attorney taking the deposition to provide
23       courL reporting services for t,his deposition;
24       that I   am   not taking this deposition under any
25       contract thaL is prohibited by OCGA 15-l-4-37 (a)



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      Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 7 of 82
                                       Heard
                                  Quint.in
                                                                        95

 L      and (b) or Article 7.C. of the Rul-es and
 2      Regulations of the Board; and I am noL
 3      disqualified for a relationship of interest under
 4      oCGA 9-11--28 (c)   .


 5                There is no contract to Provide
 6       reporting services between myself or any person
 7      with   whom   I have a principal and agency
 8       relationship nor any attorney at law in this
 9       action, party to this action, party having a
10       financial interest in this action, or agent for
l_1      an attorney at law in this action, part,y to this
t2       acLion, or parLy having a financial interest in
L3       this action. Any and all financial arrangements
14       beyond my usual and customary raLes have been
l_5      disclosed and offered to all parties.
t6                This 1-7th day of October,       20]-7.

t7
l_8


1_9




20           {.lL               c t'Lt",ttf1yt" {Lt r*
                  R. OVERMAN, CCR 8*2353
         SHARON
21       Cert.ified Court Reporter
22

23

24

25




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           EXHIBIT B
  QuikTrip Surveillance Videos
   (NOTE: VIDEO “GAS LEFT” SHOWS INCIDENT)
Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 9 of 82




                                    Videos

                                  Disc No. 1/1




                                 Sanders      v.QT

                 I   Civil Action No.:   1:   17-CV-02341-WSD
             t



         I
         I
         I
        I
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           EXHIBIT C
   Deposition of Gregg Romero
Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 11 of 82




                                                                Certified Copy Transcript




                      In The Matter Of:

  Yvette Adelle Sanders et aI vs. Quiktrip Corporation et al

                Deposition of Gregg Romero

                    Septemb er 28th,2017




                             AccuTrano Inc.
                   - -- c ertifi ed c cturt rep or t ers - ^'

                        707 Whitlock Avenue
                              Suite A42
                      Marietta, Georgia 30064
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                            770-426-9706
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                                  Romero
                                                                     ').)



 1    would talk to corporate?
 z             A   Yes. Anything like that is handled
 3    through corporate.
 4             a   Did corporate ever tell you, here are
 5    the things werre concerned about regarding the
 6    safety of our employees and customers regarding
 7    being the victims of crime on the property?
 8             A   The only thing is the policy, they
 9    tel-l us it's expressed in the policy what                we

t_0   need to do in situations, and iU actually
11-   explains what to do regarding different things.
L2             O   Like   what?

13             A   We   follow the policy.
L4             A   You   still    talking about pushing the
15    button?
1_6            A   Pushing the button if you feel           a

1-7   customer/employee is in danger, a customer, or
18    fights on property, you hit the              remoLe a1arm.

I9             A   Did you have a security guard at the
zv    QuikTrip for what werre here for in December of
2I    201"6?

.)a
               A   On   the night in question?
23             O   WeIl, I was going to ask you about the
24    night in question. There wasn't one on the
25    night in question; correct?


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                                 Romero
                                                                   33


 1           A     Not on the night in question, flo.
              A    There was on weekends though,. correct?
 3           A     On   Fridays and Saturdays there is,
 4    yes.
 5            A    And who made      that decision to put     a

 6    security guard there on Fridays and Saturdays?
 7           A     lt's been there since before I got
 8    there, so I honestly don't know that          answer.

 9    It's been there when f got there two years ago.
10            A    Why    did you have a security guard       on

11    Fridays and Saturdays at that QuikTrip?
L2           A     To handle all the traffic       flow and to
L3    keep people from standing around loitering          from

l4    all the clubs       when   they exit out of the clubs at
1-5   3:00 or 4:00 in the morning.
L6            a    A lot of cl-ubs around there?
L7           A     Yes.

l_8           O    And that creates a problem to have
T9    them loitering when they exit at 3:00 or 4:00 in
20    the    morning?

2T            A    They loiter      --
22                 MS. LEET: Object        to the form.
23            A    (By    Mr. Law)   Go ahead.

24            A    There's l-oitering and Lhere's also
25    t.raffic flow to get them in and out so it


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                                  Romero
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 L    couldn't have control-l-ed this specif ic incident
 z    right here that we're reading about.
 3                 (Plaintiff's       Exhibit No.   39

 4                  was marked      for identification.    )



 5            A    Okay. Let's look at Exhibit.          39.

 6    That's one that goes back, this j-s on QuikTripts
 7    security, their plan for this property.
 8    1,1,/9/2014, shots f ired in the parking 1ot.
 9                 Now, f understand that was within the
l-0   year before you goE there, but this is news to
11    you; right?
1-2           A    Yes.

l_3           A    So now you have        a second gun incident
1-4   in the l-2 months before Andrew Spencer is shot.
l_5   Any concern to you?
16            A    None.

L7            A    Two    years.    Two   years. This is the
18    second one. Two years before, any concern?
19            A    No concern.

20            A    None. You're not requesting           more

2I    security?
22            A    From what      I can read here, and based
23    on the dates, the security guard was there                when

24    t.his   happened.

25            a    Oh, there was a security guard there?


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                                   Romero
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  1            A   Based on      the dates I can read.       And

  2     when   it says Sunday, November 9th, which          means

  3     it would have been a Saturday into a         Sunday

  4     morning, so a security guard was there.
  5            A   So    you're just arguing wit.h       me now

  6     because you don't know?
  7            A   No.

  8            A   Yourre making that        up?

  9            A   No.

l_0            A   Yourre making that up, aren't you?
1_ 1_          A    I   am   not making it   up.

1,2            A   You're jusu making stuff        up?

13             A    frm not making anything up.
l4             A   You know      a security guard was there?
1-5            A    From what     f -- if measures were there
L6      that are in my store now, Yas, a security guard
1,7     was there, or would have been there.             And what   f
18      can read here where it says police were already
1-9     there.
20             a    The   police? The police aren't your
2I      security guards, are they?
22             A    Pofice were sent to Lhe store and were
23      already on scene when they caffed Lhe store,
24      which means a security guard was there, or an
25      officer was a1ready in the parking lot when it


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                            Gregg Romero
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 l_   conLrol. There was an officer in the parking
 2    lot when this situation      happened.

 3         A     With Andrew Spencer?
 4         A     Yes.

 5         a     You sure of that,?
 6         A     YeS.

 7         A     The police officer sitting        in the
 B    parking lot?
 9         A     There was a police car coming into the
10    parking lot on premises.
1L         A     A11 right,.    Yourre saying dif ferent.
t2    things. Don't forgot you're under oath.           You

13    got a duty to     make sure you    tell t.hings
t4    accuraLely.
l_5        A     There's a police car on --
l_6        O     You just told me there was a Police
L7    officer in the parking 1ot.
l_8        A     Officer in the car. Pol-ice officer in
t9    the car.
20         A     There was a police officer riding          down

2T    the road, wasn't there?
22         A     He was    pulling in the parking lot.
23         A     ue pulIed in the parking lot, after Lhe
24    shooting. You talk to       him?

25         A     No. I just, as I said, I can t.ry to


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                             Gregg84-1 Filed 04/20/18 Page 17 of 82
                                   Romero
                                                                        ]-49


  L                       CERTIFICATE
  2     GEORGfA:
  3     FULTON COTINTY:

  4                I hereby certify the foregoing
  5          transcript was taken down, as stated in
  6          the caption, and the questions and the
  7          answers thereto were reduced to
  8          typewriting under   my   direction; that        t.he

  9          foregoing pages 1 through L47 represent                a

L0           true and correcL transcript of the
t_ t_        evidence given upon said hearing.
T2                 The witness   did reserve the right to
l_3          read and sign the transcript.
t4                 This, the 25th day of October          20'J,7,

L5
                                 0,A- a 7n
                                 00        ^T4*
1,6                           ,Judy B.   Mangiaf   ico,   CCR-B- 713

t7
18

1_9


20

2L

22

23

24

25




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     Case 1:17-cv-02341-CC Document
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                                     Romero
                                                                        l_50



 L                              DISCLOSURE

 2      STATE OF GEORGIA:

 3      FUI,TON COUNTY:

 4           DEPOSITION       OF:   GREGG ROMERO

 5

 6                Pursuant to Article L0.B. of the Rules
        and Regulations of the Board of Court Report,ing
 7      of the Judicial Council of Georgia, t make the
        following disclosure:
 I
                  I am a Georgia Cert,ified Court
 9      Reporter acting as an agenL of AccuTran, Inc.,
        who was contacted by the offices of Law & Moran
L0      to provide court reporting servj-ces for this
        deposit,ion. I will not be taking this
1l_     deposition under any conLract that is prohibited
        by O.C.c.A. Ls-1"4-37 (a) and (b) .
L2
                  AccuTran, Inc., has no contract to
L3      provide reporting services with any party to the
        case, any counsel in the case, or any reporter
l4      or reporting agency from whom a referral might
        have been made to cover this deposition.
t_5     AccuTran, Inc. will charge its usual and
        customary rates to all parties in the case/ and
L5      a financial discount will not be given to any
        party to this litigation.
17

18

I9
20

2T

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           A,ta, d
                             ^Ilf-
                     "Y,(1


23         00                           CCR#   B-7]-3   DATE

24      Certified Court Reporter
25




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Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 19 of 82




           EXHIBIT D
   Deposition of Rhamses Reyes
Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 20 of 82




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                      In The Matter Of:

  Yvette Adelle Sanders et al vs. Quiktrip Corporation et al

                Deposition of Rhamses Reyes

                    September 28th, 2017




                             AccuTrano Inc.
                   -
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                      Marietta, Georgia 30064
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                           770-426-9706
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                               Rhamses Reyes
                                                                         24



 l_      with friends?
 2            A       NO.

 3             A      Do you   recall him leaving the store?
 4            A       No.

 5             A      Did you know Lhere were a grouP of
 6       individuals out there as he left the           sLore?

 7             A      NO.

 8             A      Have you watched     the video of the
 9       incident.?
L0             A      Yes.

1_1            A      And when did you do      t.hat/ was it to
t2       prepare for t,his deposition or was iL soon
1_3      after, or tell      me when,   or both?
L4             A      It was both.
15             A      Okay. And what did You see in the
1,6      video?    We    brought it Lo watch it, so we can        do

T7       that in a bit.       But tel-1   me what you   recall
18        seeing in the video.
L9             A      WeI1, I recall me being on register
20        helping out a customer and I heard gunshots, I
2L        looked up, I saw glass breaking, and f dove to
22        t,he ground.
23             A      Anyt.hing else You can recall?
24             A      NO.

25             A      And that's the first      noLice you had


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                               Rhamses Reyes
                                                                         25


 1_      that there was even any kind of altercation is
 2       when you were      basically diving to the         ground?

 3            A       Yes, sir.
 4            A       Okay. What about Alex, where was he
 5       when this occurred?

 6            A       He was somewhere         in the back of the
 7       store.
 I             A      A11 right.         Do You know     if he knew of
 9       any incident, brewing or any of the events?
L0             A      NO.

1t_                   MS. LEET: Object to the form.
t2             a       (ey Mr. l,aw) From Your having been
L3       there, are you comfortabfe in saying he probably
I4       didn'L see anyLhing either because where he               was

L5       he wouldn't have been able to see it?
1,6                   MS. LEET: Object Eo            the form.
t7                    MR. LAW: What's           the Problem with
L8             the form of the question, Nicole?
t9                    MS. LEET: You're asking his

20             impression of anoLher Personrs
2T                    MR.   LAIatr   : No, f 'm not . I didn' t    ask

22                for his impression.
23        BY MR. LAW:

24                A    I said from where You were, are            You

25        comfortable saying that he probably couldn't


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      Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 23 of 82
                               Rhamses Reyes
                                                                         27


 l-      and that's all he told me. He said he was okay.
 2            A     The QTs, therers not a glass partition
  3      between you and Lhe customer in that particular
 4       store, is there?
  5           A     No.

  6           A     So it.'s the open counter like we see
  7      in all the QTs. I got pictures of it too.
  I           A     Yes, sir.
  9           A     Okay. At     anY   Point   when Andrew and

1-0      his friends were in there, did you feel
l- l_    threatened or concerned for your safety?
l2            A     No.

13             A    Were they doing anYthing foud,

L4       boisterous, acting intoxicated or anything, to
15       your recoflection?
t6             A    NO.

L7             A    I   assume   at 3:30 in the morning at
18       times over there on Buford Highway you do get
L9       people like that?
20             A    Yes.

2t             A    But that wasn't this situation.         They

22       weren't acting inappropriate or ouL of
23             A    NO.

 24            A    Okay. Really they were uneventful
 25       when they came    in, bought whatever they want        and



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                              Rhamses Reyes
                                                                             28


 L      left   ?


 2                 A   Yes, sir.
 3                 A   Do you remember how manY was wiLh

 ^      Andrew when      they       came   in and bought stuff?
 5                 A   No.

 6                 A   Did you recognize Andrew ever
 7      previously?
 8                 A   No.

 9                 A   So you       hit, the ground after you heard
t_0     the gunshot;         Yes?

11                 A   Yes.

t2                 A   Then what?

l_3                A   I pressed       mY remote al-arm.

l4                 A   Okay. Therers something behind the
t-5     counter thaE's a remote alarm?
1,6                A   My    -- wel1,      we have   several alarms:
l7      The checkstand, back room, one of the coolers,
l_8     but we afso have personal alarms on our -- that
19      we wear on      our belts.
20                 a   Do you have yours on           now?

2L                 A   No.

22                 a   And so you have a lit.tle             kind of like,
23       what does it look like, a garage door opener or
24       something?

25                 A   Yes.



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     Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 25 of 82
                              Rhamses Reyes
                                                                        140


 L                       CERTIFICATE
 2      GEORGIA:
 3      FULTON COUNTY:

 4                 I hereby certifY the foregoing
 5           transcript was taken down, as staLed in
 6           the caption, and the questions and the
 7           answers thereto were reduced to
 I            typewriting under   my   direct.ion; that the
 9            foregoing pages L through l-38 represenE         a

l_0           true and correcL transcript of the
t_1           evidence given upon said hearing.
1-2                The witness   did reserve the right to
L3            read and sign the transcriPt.
1,4                This, the 25th daY of October       2OI7.

t_5
                                           7na^T"/tz>
                               A%a
I6                            .Judy   B. Mangiafico,   CCR-B-7L3

L7

L8

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20

2T

22

23

24

25




                               AccuTran, lnc.
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                               Rhamses Reyes
                                                                         r4l

 1                              DISCLOSURE

 2        STATE OF GEORGIA:

 3        FULTON COUNTY:

 4             DEPOSITION OF:     RHAMSES PERALTA-REYES

     5

     6              Pursuant to Article l-0.8. of Lhe Rules
          and Regulat,ions of the Board of CourL Reporting
     7    of the Judicial  Council of Georgia, I make the
          following disclosure:
     8
                    f am a Georgia Certified Court
     9    Reporter acting as an agent of AccuTran, fnc.,
          who was contacted by the offices of Law & Moran
1_0       to provide courL reporting services for this
          deposition. I will not be taking this
l_   l-   deposition under any contract that is prohibited
          by O.C.c.A. t5-1-4-37 (a) and (b) .
t2
                     AccuTran, Inc., has no contracL to
13        provide reporting services with any party Lo the
          case/ any counsel in the case, or any reporter
t4        or report,ing agency from whom a referral might
          have been made to cover this deposition.
15        AccuTran, Inc. will charge its usual and
          customary rates to al-l parLies in the case, and
l_6       a financial discount will not be given to any
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           EXHIBIT E
Plaintiff’s Rule 26 Expert Report
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   I.       Qualifications of Witness with List of All Publications within Last Ten Years

My name is John C. Villines; I have earned the following board certifications issued by ASIS
International (ASIS): CPP (Security Management); PCI (Professional Certified Investigator); and
PSP (Physical Security Specialist). I am designated by the International Society of Crime
Prevention Practitioners as an “International Crime Prevention Specialist,” and certified by the
National Crime Prevention Association as a “National Crime Prevention Specialist” (Level II;
Advanced Certification). My professional experience includes certification as an instructor for
law enforcement, security personnel and investigators. Much of my professional research has
been dedicated to topics associated with security management and policies and procedures as
they relate to commercial properties, including convenience stores. Similarly, I studied related
topics from an academic perspective when I obtained a Master of Science in Security
Management and when I served as a Research Associate and Adjunct Instructor at the Georgia
Police Academy.

Academically, I have completed post-graduate study in Statistics and Quantitative Methods
(Harvard University) and various other courses related to Crime Analysis and Crime Prevention.
I developed the Crime Prevention Specialist curriculum for the State of Georgia, which included
the development and teaching of a curriculum used to train police and private sector crime
prevention personnel in the fundamentals of crime prevention related to a variety of
environments, including convenience stores. Please see attached CV (Exhibit A) for list of
publications and additional qualifications.

Based upon my review of materials relevant to this case, and having relied upon a body of
knowledge and experience relative to such an assessment, I have reached the following
conclusions and opinions, as supported by attached exhibits (listed below), which are derived to
a reasonable degree of professional probability, and which I reserve the right to amend and
supplement.


   II.      Statement of Opinions to be Expressed and the Basis

Crime Prevention Principles

This section summarizes the current state of crime prevention theory and peer-reviewed,
published research on the efficacy of crime prevention methods; published standards and
guidelines of the security and crime prevention industry; and widely-accepted methodologies
utilized by security and crime prevention professionals to evaluate and mitigate security risks at a
given location.


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Crime prevention is defined as “the anticipation, recognition and appraisal of a crime risk and the
initiation of some action to remove or reduce it” (National Crime Prevention Institute). 1 This
report functions with that definition by addressing its two major elements. The first component –
“appraisal of a crime risk” speaks to the issue of foreseeability, which is specifically addressed in
the ASIS International General Risk Assessment Guidelines. Those guidelines recommend
evaluating the following sources for crime-related events:

   •   Local police crime statistics and calls for service at the site and the immediate vicinity for
       a three-to-five year period
   •   Uniform Crime Reports published by the U.S. Department of Justice for the municipality
   •   The enterprise’s internal records of prior reported criminal activity
   •   Demographic/social condition data providing information about economic conditions,
       population densities, transience of the population, unemployment rates, etc.
   •   Prior criminal and civil complaints brought against the enterprise
   •   Intelligence from local, state, or federal law enforcement agencies regarding threats or
       conditions that may affect the enterprise
   •   Professional groups and associations that share data and other information about
       industry-specific problems or trends in criminal activity
   •   Other environmental factors such as climate, site accessibility, and presence of “crime
       magnets” 2

As that guideline observes, “Probability of loss is not based upon mathematical certainty, it is
consideration of the likelihood that a loss risk event may occur in the future, based upon
historical data at the site, the history of like events at similar enterprises, the nature of the
neighborhood, the immediate vicinity, overall geographical location, political and social
conditions, and changes in the economy, as well as other factors that may affect probability.” 3 In
the absence of “mathematical certainty,” security professionals use a number of widely accepted
methods to establish foreseeability based on the factors named above. 4 This report relies on a
review of prior similar criminal activity, along with review of additional factors such as the
nature of the site and apparent security vulnerabilities at that site, to establish the types of
incidents that are reasonably foreseeable, which is to say, those incidents which a reasonable
person would consider likely to occur at a particular site if no changes are made to the security
posture of that site.

This site-specific focus addresses the criminological concept of place, which is an essential
element in the second component of the definition of crime prevention noted above:

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“initiation of some action to remove or reduce” crime. “Routine Activity Theory” describes three
elements which need to converge in time and space (i.e. at a particular place): a likely offender, a
suitable target, and the absence of a capable guardian. 5 John Eck applies Routine Activity
Theory in a manner particularly suited to the process of assessing the adequacy and vulnerability
of a crime prevention program. Eck presents his approach with two concentric triangles, and it is
often referred to as the “Crime Triangle” or the “Problem Analysis Triangle.” Marcus Felson
summarizes Eck’s concentric crime triangles thusly:

       “The inside triangle has three elements that must converge for a normal crime to
       occur: the potential offender, the crime target, and the place or setting for the
       crime. For a crime problem to occur, the offender needs to find a target in a
       suitable place.” 6

       “The outside triangle depicts three sorts of supervisors: the handler, the guardian,
       and the place manager. The handler supervises the offender, the guardian
       supervises the target and the manager supervises the crime setting. Their absences
       make crime feasible. A crime occurs when the offender escapes handlers, finds
       targets free from guardians in settings not watched by managers.” 7

These principles are often integrated with “Rational Choice Theory” to help understand practices
likely to reduce crime. As one criminologist explains, in Rational Choice Theory, “individual
actors try to realize their goals to the highest degree taking into account the constraints (or
opportunities). In other words, individuals try to maximize their utility.” 8 The elements of that
utility are, in RCT, addressed through three propositions:

   •   preference proposition: individual preferences (or goals) are conditions of behaviors
       which are instrumental in satisfying the respective preferences;
   •   constraints proposition: any phenomena that increase or decrease the possibilities of
       satisfying individual preferences (that is, constraints or opportunities) by performing
       individual actions are conditions for performing these actions;
   •   utility maximization proposition: individuals choose those actions that satisfy their
       preferences to the highest extent, taking into account the constraints (or opportunities)
       imposed on (or open to) them.” 9

Put more broadly, Rational Choice Theory is built on the concept that the offender’s decision to
perpetrate a crime is based on their likelihood of accomplishing their goals, and the likelihood of
encountering constraints limiting access to those or other, pre-existing goals. As a simple
example, a person whose goal is to obtain money, but who also wishes to retain their freedom, is

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more likely to offend somewhere that they expect to find unprotected money, and where they do
not expect to be caught, arrested, and incarcerated. Significantly, Rational Choice Theory is not
predicated on fully reasonable behavior on the part of the offender, but rather on “limited” or
“bounded” rationality based on the immediate likelihood of obtaining their goals and/or
encountering constraints. 10

Collectively, Routine Activity Theory, the Crime Triangle, and Rational Choice Theory are all
widely-accepted criminological concepts. They are addressed in more detail in several seminal
texts, including: Ronald Clarke and Marcus Felson’s book, Routine Activity and Rational Choice
(1993); two books edited by Dr. Clarke, Situational Crime Prevention: Successful Case Studies
(2ed) (1997) and Rational Choice and Situational Crime Prevention (1997); and, Explaining
Criminals and Crime: Essays in Contemporary Theory, edited by Paternoster and Bachman,
(2000). In addition, these theories underlie the work on crime prevention – conducted by Ronald
Clarke and John Eck – published by the United Stated Department of Justice. 11 They are also a
significant component of the Congressionally-mandated study, Preventing Crime: What Works,
What Doesn’t, and What’s Promising. 12

Together, these concepts underline a set of practices generally referred to as “Situational Crime
Prevention.” Established and expanded over decades by Dr. Clarke, situational crime prevention
methods fall into five general categories:

   •   Increase the Effort needed to commit a crime
   •   Increase the Risks of committing a crime
   •   Reduce the Rewards for committing a crime
   •   Reduce the Provocations for committing a crime
   •   Remove Excuses for committing a crime 13

One key practice that significantly supports the first two of these sets of practices is the
establishment of capable guardianship. As Harvard criminologist Daniel Nagin explains,
“Capable guardians are persons whose presence discourages a motivated offender from
victimizing a criminal opportunity. Capable guardians include persons with no official crime
control authority who nonetheless are personally willing to intervene or to summon those with
the authority to intervene. The police themselves also serve as capable guardians in their
conventional patrol and monitoring functions.” 14 In a 1995 book chapter entitled “Those Who
Discourage Crime,” prominent criminologist Marcus Felson describes capable guardians as those
who supervise suitable targets and serve to prevent crime “by simple presence,” 15 and states that
place managers are, broadly, “those who control or monitor places,” which may include
management-level and staff-level employees. 16 Felson explains that, “In general, crime is most

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readily discouraged when people have personal and assigned responsibility and a clear focus on
places or settings.” 17

Capable guardianship can be established through the deployment of private security and public
law enforcement personnel, through the use of physical security measures, and by giving
employees and other “place managers” a visible presence and the capability to maintain active
surveillance. 18 Specifically, Clarke and Eck note that, “In addition to their primary function,
some employees also perform a surveillance role.” 19

Along with establishing capable guardianship, another key element of situational crime
prevention is “opportunity blocking,” a strategy which has proven to be highly effective in
preventing crime at places, as reported by the National Institute of Justice in 1996. 20 Published
scientific research, reported in the above-referenced Congressionally-mandated study, supports
this assertion, stating: “blocking crime opportunities at places can reduce crime...over 90 percent
of the interventions reported evidence of crime reduction following the installation of an
opportunity blocking tactic.” 21

Opportunity blocking can include hardening targets with physical security measures, controlling
access, and deflecting offenders. 22 The effectiveness of these techniques in preventing crime at
places is well-established. It is important to note, however, that the primary resource for
implementation of opportunity blocking tactics is typically the entity or entities in charge of the
place, as opposed to the users of the place or even public law enforcement (with the latter
responsible for a variety of public safety-related issues throughout the entire surrounding area).
Put simply, management that does not deter criminal opportunity enables criminal activity, by
the absence of a capable guardian or other sufficient deterrence measures. This is a direct
reflection of the importance of place management, one element of the Crime Triangle noted
above. 23

In determining where and to what degree to implement these and other situational crime
prevention measures, place managers and security professionals consider the foreseeability of
criminal activity at a specific place. One component of analyzing foreseeability is looking at
prior criminal activity at a site and in the surrounding area. Of relevance is not simply the types
of prior criminal acts, but the “opportunity structure” of those acts. For instance, a 1988 article
published in the widely respected Journal of Quantitative Criminology noted that the
opportunities associated with the property crime of residential burglary are very similar to those
associated with residential rape, though the former is a property crime and the latter is a violent
crime. 24 Similarly, the opportunities associated with the property crime of breaking into a vehicle
or theft of a vehicle in a parking lot can reasonably be correlated with the opportunities


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associated with crimes of assault or robbery in that same parking lot. The essential variable in
considering the relevance of these prior events, and whether they provide predictive value of
future events, is whether the opportunity structures are similar.


Defendant’s Failures Relevant to the Instant Case

NFPA 730 Guide for Premises Security, 2014 Edition, was approved as an American National
Standard on December 2, 2013 25 with the primary goals of providing “an environment for the
occupants inside or near a building that is reasonably safe from security threats” as well as
“reasonable safeguards for protection of property from security threats.” 26 NFPA 730 states that
“Implementing the goals of this guide should require a security plan,” 27 and specifically advises
that a “retail establishment should have a security management plan.” 28 The guide states that as
part of that security plan, a security vulnerability assessment (SVA) – defined as a “systematic
and methodical process for examining ways an adversary might exploit an organization’s
security vulnerabilities to produce an undesired outcome” 29 – should be conducted for a retail
establishment 30 by a qualified, certified professional. 31 Because the landscape of security risks is
dynamic, “The review and update of the SVA should be based on the level of risk, threats, crime,
and change of conditions within the organization.” 32 The SVA and the security plan serve as the
basis for implementing procedures and controls for the premises; 33 for the decision to provide
security personnel; 34 and for conducting security patrols. 35

The ASIS International Protection of Assets manual – widely regarded as perhaps the most
authoritative and comprehensive published treatment of security management topics – explains
the critical importance of assessment to the provision of adequate security as follows:

       “The protection of assets is not an exact science. What works in one situation may
       have disastrous results in another. Asset owners and security professionals alike
       must analyze specific situations or environments; recognize needs, issues and
       resources; and draw conclusions regarding the most appropriate protection
       strategies and applications.” 36

Defendant QuikTrip Corporation (“Defendant QuikTrip”) acknowledges the relevance of
criminal activity in the surrounding area to the security needs of a property in its “Security
Guards” policy, which states that “It may become necessary to place a security guard in a store to
provide safety for employees and customers or as a deterrent in areas where crime or the chance
of crime is prevalent.” 37 However, there is no indication in the evidence reviewed that Defendant
QuikTrip took reasonable proactive steps to fulfill this voluntary guideline by making itself


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aware of the “chance of crime” in the area of the subject QuikTrip store (#797) at 4050 Buford
Highway, Atlanta, Georgia. Instead, this policy appears to leave evaluation of risk to the
subjective discretion of non-security personnel, beginning with the store manager:

       “If a Store Manager believes he/she has the need for a security guard, he/she
       should contact his/her Store Supervisor. The Store Supervisor will then discuss
       the needs of the store with the Store Manager. If at that time it is decided there is
       a need for security, the Store Supervisor will take a proposal to the Division
       Manager, who will make the final decision.” 38

The activation of this process requires on-site personnel to observe risk factors and security
vulnerabilities and to proactively volunteer that information up the management chain. The Risk
Assessment Standard – published by ASIS International and The Risk and Insurance
Management Society and approved by the American National Standards Institute – advises that
“Confidence in the risk assessment process is dependent on an impartial evaluation of the risk
sources and management practices” and states that assessors “should be impartial[.]” 39 This
standard explains that “[t]hreats to impartiality include… c) Familiarity – threats that arise from
being too familiar with the processes and/or persons being assessed to obtain unbiased evidence
and conclusions; d) Habituation – threats that arise from complacency or over-familiarity with
the context of operating conditions; [and] e) Cognitive-bias – threats that arise from individuals
creating their own subjective reality through their preconceived perception of the input…” 40 It is
reasonable to expect that the observations of on-site personnel – and their willingness to
communicate those observations – could readily be influenced by any or all of the above factors.
As such, predicating the performance of any assessment upon voluntary communication from
on-site personnel introduces inherent unreliability into the process, and is inconsistent with
published standards and guidelines.

In the instant case, the evidence reviewed indicates that on-site staff members employed at the
subject QuikTrip were not provided with relevant training regarding a reasonable methodology
to guide them in making informed observations regarding the security posture of the store.
Anthony Bolling (night assistant) 41 and Rhamses Peralta-Reyes (relief assistant) 42 testify that
they have no training on security or crime deterrence, 43,44 and store manager Gregg Romero 45
gives no indication that he received any security-related training beyond what appears in
Defendant QuikTrip’s policies and procedures. 46 The failure to either provide the personnel
entrusted to assess security needs with the necessary training to make such an evaluation – or to
retain a qualified security professional to formally make that evaluation – is inconsistent with
published industry standards and guidelines. Furthermore, it is inconsistent with the Defendant’s
stated priorities regarding employee and customer safety, as articulated in QuikTrip’s policies:


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   •   “QuikTrip’s primary concern is the safety of its customers and employees.” 47
   •   “You and your customers are the most important concern of QT. Nothing is more
       valuable.” 48
   •   “The store security system is designed to provide protection for both employees and
       customers.” 49

There existed an established security vulnerability at the property, specifically the proximity of
multiple clubs, 50 and the evidence reviewed indicates that employees were aware of the
vulnerability, but the Defendant did not evaluate or address that vulnerability in a manner
consistent with the above principles or their own policies. The relationship between alcohol
consumption and the risk of violent crime is well-established in published standards, guidelines,
and peer-reviewed published research, including Assaults in and Around Bars (Department of
Justice, 2006) and Alcohol Outlets as Attractors of Violence and Disorder (National Institute of
Justice, 2008). Relevant citations include:
   •   “The proliferation of bars in many communities has led to increases in assaults in and
       around bars.” 51
   •   “The density of on-premise [alcohol] outlets is a significant predictor of aggravated
       assault.” 52
   •   “The research conducted over the last few decades has suggested that drinking
       establishments, particularly bars, attract clientele more likely to include motivated or
       potential offenders.” 53

To use the language of Defendant QuikTrip’s “Security Guards” policy, an area with several
establishments that serve alcohol in close proximity to each other could reasonably be described
as an area where “the chance of crime is prevalent,” and evidence indicates that patrons of those
establishments frequented the subject QuikTrip as a routine activity. Mr. Reyes testifies that it is
“an every-night thing” for sometimes-intoxicated customers leaving the strip club Follies
between 3:00 a.m. and 4:00 a.m. to come into the subject QuikTrip and buy food. 54 Defendant
deployed off-duty law enforcement officers to provide security on Friday and Saturday – which
deponents testify were the nights with the highest volume of customers coming in from
clubs 55,56,57 – but did not engage in ongoing formal assessment of threats and vulnerabilities to
determine the requirements for guardianship at the site on other days of the week. Known prior
incidents of violent crime at the site, including two “shoot outs” in the parking lot in 2014
(elaborated below), should have alerted Defendant that such ongoing evaluation was warranted.
An appropriate needs-based analysis – taking into consideration both qualitative and quantitative
factors – would have identified a different pattern of risk than that which was identified by
informal observation, as addressed below.


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Defendant’s own criteria for considering the deployment of security personnel – evaluating and
responding to the “chance of crime” in the area – inherently requires awareness of those factors
which affect a “chance of crime.” The reasonable methodology for accomplishing that objective
would have included: requesting and reviewing data regarding reported criminal activity on the
property and in the surrounding area in the course of conducting a site-specific SVA; creating a
site-specific written security plan; implementing physical security measures, policies, and
procedures consistent with assessed need; regularly re-assessing to determine whether the
measures implemented are or remain effective; and regularly updating the site-specific SVA and
site-specific written security plan to detect and respond to changing risk.

Defendant QuikTrip’s failure to conduct a site-specific security vulnerability assessment and
create a site-specific written security plan 58 is inconsistent with the published industry standards
and guidelines cited herein.


Defendant’s Awareness of Prior Incidents

The evidence reviewed indicates that Defendant QuikTrip was aware of multiple reported
incidents of violent criminal activity which occurred in the parking lot in the three years prior to
the murder on December 29, 2016, including:
   •   October 1, 2016 – Security Alert-Assault – Police officers requested surveillance video
       for a murder investigation. In an internal report, an employee writes: “The police officer
       informed me that there was a taxi driver driving a blue Toyota Prius that was on our
       property at 9:21 PM with a gun pointed to her head. She screamed from her vehicle
       ‘somebody help me’ then left the store by 9:22 PM and was murdered sometime after
       leaving our property.” 59
   •   November 9, 2014 – Shots Fired – Shoot out between two vehicles. Nine suspects
       detained, assault rifles and handguns found. 60,61
   •   April 6, 2014 – Aggravated Assault – Shoot out between parties in two vehicles in
       parking lot of subject QuikTrip. Police report narrative states that shots fired were
       initially called in by a security officer at Follies nightclub, and indicates the totality of the
       incident spanned multiple locations, including the Mansion nightclub (where two victims
       stated they were shot) and Queen of Sheba restaurant. 62,63

These police report narratives, indicative of the observations of responding law enforcement
officer(s), provide documentation of Defendant’s notice of the dangerous and violent conditions
at the property and in the surrounding area. A larger, quantitative analysis of reported incidents

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of criminal activity with predictive value in the subject incident (time period: January 1, 2012
through December 29, 2016; radius: up to ½ mile from the site) reveals noteworthy trends:
   •    Of the 20 violent incidents which occurred outside in the above time period, 15 occurred
        between the dates of January 1, 2015 and December 29, 2016.
   •    Of the 14 gun-related incidents which occurred outside in the above time period, 11
        occurred between the dates of January 1, 2015 and December 29, 2016.

In this time period in which it appears that significant violent outdoor activity increased in the
area (January 1, 2015 through December 29, 2016):
   •    the one-hour periods with the highest incidence of reported criminal activity were: 3:00
        a.m. to 4:00 a.m. (20% of counted incidents), followed by 2:00 a.m. to 3:00 a.m. and 3:00
        p.m. to 4:00 p.m. (13.33% of counted incidents each);
   •    the days of the week with the highest incidence of reported criminal activity were:
        Saturday (33%), Thursday (20%), Tuesday (20%), and Sunday (13%); and
   •    the months with the highest incidence of reported criminal activity were: August (27%),
        October (20%), and December (13%).

It is important to note that, consistent with this pattern, the event which is the subject of this case
was a violent, outdoor incident which occurred on a Thursday in December at approximately
3:24 a.m.

Gathering and reviewing the aforementioned, relevant data on prior criminal activity would also
have informed Defendant of a specific prior incident that was indicative of a need to revise
and/or reinforce internal policies and procedures. On December 13, 2015, police officers arrested
two females engaged in a fight out front of the subject QuikTrip. In narrative, the reporting
officer notes that he heard “a loud commotion across the street” while concluding a traffic stop at
Buford Highway/Dering Circle. 64 Despite this indication that the sound of the conflict was
sufficient to draw the attention of an officer off-property, no internal report was noted for this
incident in the evidence reviewed. From this it is reasonable to conclude that Defendant
QuikTrip’s employees either did not observe the violent conflict (which would further reinforce
shortcomings in guardianship), or they did not report the incident internally (which would
indicate non-compliance with both company policy and established guidelines, for example,
“Once the company has established guidelines regarding which types of incidents must be
written up, all such incidents should be reported to a central point” 65).




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Statement of Opinion

The qualitative analysis of documented criminal activity at or near the site, to include those
incidents known to Defendant Quick Trip and those reported in the narratives of police incident
reports, along with the quantitative analysis of patterns of reported criminal activity at or near the
site, can be reasonably stated to rise to Defendant Quick Trip’s own standard of a “chance of
crime.” In addition, a review of that data indicates that it is reasonable to anticipate the specific
possibility of violent criminal activity at or near the site, and that, based on the analysis above, it
is also reasonable to anticipate that violent, criminal activity would happen during that hour of
the morning, on that day of the week, during that time of the year.


Preventability Analysis

Daniel Nagin advises that “improved guardianship reduces the probability that the target can be
successfully victimized and increases the probability of the… outcomes that represent failure
from the offender’s perspective.” 66 In the instant case, improved guardianship of the parking lot
(beginning with and as informed by a systematic, evidence-based assessment of the risks) could
have been achieved with improved employee observation and response, off-duty law
enforcement presence, or both.

The evidence reviewed indicates that – when they accepted the responsibility of exercising
guardianship of the parking lot – Defendant QuikTrip’s employees had a practice of reporting
and reacting to circumstances substantially similar to those which preceded the subject shooting
when they observed those circumstances to be taking place. It does not appear, however, that Mr.
Reyes – who was working at the subject QuikTrip at the time of the incident 67 – accepted such a
responsibility; in fact, he testifies that at the time of the subject shooting he had no
responsibilities for patrolling or securing the parking lot. 68

Examples of similar, reported circumstances where Defendant’s employees performed their
guardianship and place management functions include:
   •    December 14, 2016 – Panhandling – Employee pressed panic alarm and “reported a
        panhandler in front of the store bothering customers. He has been asked to leave but
        refused to comply. The suspect left before police arrived.” 69
   •    November 27, 2016 – Disorderly Conduct – Employee pressed panic alarm “because she
        had a couple people arguing out front. Another customer stepped in to mediate the
        argument… No police needed.” 70



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   •    November 21, 2016 – Disorderly Conduct – Employee pressed panic alarm to report an
        incident wherein suspect and victims argued at gas pumps. “Suspect… pulled the gas
        nozzle out of the victims car sprayed the car.” Employee reported this incident after
        suspect and victims had already left property; no police dispatched. 71
   •    October 24, 2016 – Disorderly Conduct – Employee pressed panic alarm reported two
        subjects arguing in parking lot; police dispatched. 72

Relative to the instant case, Mr. Reyes appears to indicate in testimony that, had he observed all
the events preceding the shooting, he would have hit his panic alarm. 73 However, Mr. Reyes
testifies that he neither saw the assailants in the parking lot after they left the store 74 nor knew
there was a group of individuals outside when the victim exited the store, 75 and he testifies that
his first notice that there was something amiss was when he heard gunshots. 76 Additionally, Mr.
Reyes’ testimony indicates that the other two employees working at the time 77,78 were also not
positioned to fulfill a place management function – he states that at the time of the shooting, the
part-time clerk was in the back of the store, 79 while the QA employee was cleaning the ice cream
machine in the kitchen. 80

Mr. Romero’s attested understanding of what Mr. Reyes saw and did at the time of the subject
incident is not consistent with the above testimony from Mr. Reyes. Mr. Romero testifies that
Mr. Reyes monitored the people involved and made sure the incident did not escalate, and states,
“I would have done the exact same thing.” 81 Mr. Romero subsequently reasserts that Mr. Reyes
“was paying attention closely to make sure [the situation] did not escalate into anything[,]” and
he agrees that is exactly what Mr. Reyes was supposed to do. 82 Mr. Romero testifies further that
if Mr. Reyes could not watch people in the parking lot, he would expect Mr. Reyes to have his
clerk keep an eye on them, or to hit the alarm button. 83 The actions described by Mr. Romero
would have been consistent with exercising capable guardianship; however, Mr. Reyes does not
corroborate Mr. Romero’s account, and the employee’s behaviors as recorded in video
surveillance in the several minutes preceding the subject incident do not appear consistent with a
state of close attentiveness to activity outside of the store. 84

Testimony of multiple law enforcement officers reinforces the value that capable guardianship
and effective place management could have had in the instant case. Sgt. Gaetano Antinozzi of
the Chamblee Police Department, who was on duty at the time of the murder on December 29,
2016, testifies that he pulled into the parking lot of the subject QuikTrip and observed two or
three people involved in a conversation that “looked animated and… negative.” He testifies that
as he was pulling into position to get a better view, he heard three gun shots. 85 Quintin Heard, a
friend of victim Andrew Spencer 86 and witness to the subject incident, 87 testifies as follows
regarding Sgt. Antinozzi’s arrival on the property just before the shooting:

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       “At that moment was when I seen Chamblee PD pull into the parking lot, and they
       entered from the Buford Highway side of the street. So Red Shoes would have his
       face towards me, back towards Buford Highway, and didn’t see the police officer
       nor did the driver, and I don’t think that the gentleman that was with him saw
       them either. I automatically relaxed because I was assuming that someone had
       called the police or they were just doing a regular routine in that area because of
       knowing what Follies is.” 88

Sgt. Antinozzi testifies further that if an off-duty had been present at the time, that person would
have been obligated to intervene. 89 Sgt. Chris Bothwell and Investigator Alex Chang of the
DeKalb County Sheriff’s Office – both of whom have worked extra-duty shifts at the subject
QuikTrip for several years 90,91 – provide testimony that is consistent with Sgt. Antinozzi’s
statement. Sgt. Bothwell states that if he observed an argument or a negative confrontation, he
would approach and investigate, and he agrees that on prior occasions he has done so and it has
de-escalated the situation. 92 Similarly, Investigator Chang testifies that if he saw a negative
confrontation occurring between two persons outside, “we go out there, mainly it’s going to be a
deterrent, so they leave or, if they don’t, of course I approach both of them… If it’s something
minor, just make sure they leave separate ways. To be on the safe side, I take the less aggressive,
tell them to leave first, possibly wait 15 minutes and have the next subject leave… that seems to
work most of the time. No one wants to go to jail.” 93 Had an extra-duty law enforcement officer
been visibly deployed and monitoring the parking lot, the interactions that preceded the murder
would, more likely than not, have prompted intervention – or been deterred from occurring at all.

Statement of Opinion

The presence of an appropriately trained and deployed capable guardian in the exterior common
areas of the subject QuikTrip on Thursday, December 29, 2016 in the hour of 3:00 a.m. would,
more likely than not, have deterred or prevented the murder of Andrew Spencer.


Summary and Opinion

I am aware that the failures referenced herein are significant deficiencies and reflect a lack of
conformity with widely accepted industry practices and published guidelines, as noted above.
Based upon this information and my review of materials relevant to this case, and having relied
upon a body of knowledge and experience relative to such an assessment, I have reached the



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following conclusions and opinions, which are derived to a reasonable degree of professional
probability, and which I reserve the right to amend and supplement.

          1. Defendant QuikTrip failed to comply with published industry standards and
             guidelines and with relevant methodologies for assessing and mitigating risk,
             including:
                 a. Failure to conduct a security vulnerability assessment (SVA) or comparable
                    methodical, evidence-based assessment of the subject QuikTrip;
                 b. Failure to create a site-specific written security plan for the subject QuikTrip;
                 c. Failure to evaluate the effectiveness of existing security measures on an
                    ongoing basis; and,
                 d. Failure to select, implement, and/or deploy security countermeasures
                    consistent with assessed needs.

          2. Defendant QuikTrip failed to comply with their voluntary guideline which recognized
             the correlation between the risk or “chance of crime” in an area and the security needs
             of the property.

          3. The qualitative analysis of documented criminal activity at or near the site, to include
             those incidents known to Defendant Quick Trip and those reported in the narratives of
             police incident reports, along with the quantitative analysis of patterns of reported
             criminal activity at or near the site, can be reasonably stated to rise to Defendant
             Quick Trip’s own standard of a “chance of crime.” In addition, a review of that data
             indicates that it is reasonable to anticipate the specific possibility of violent criminal
             activity at or near the site, and that, based on the analysis above, it is also reasonable
             to anticipate that violent, criminal activity would happen during that hour of the
             morning, on that day of the week, during that time of the year.

          4. The presence of an appropriately trained and deployed capable guardian in the
             exterior common areas of the subject QuikTrip on Thursday, December 29, 2016 in
             the hour of 3:00 a.m. would, more likely than not, have deterred or prevented the
             murder of Andrew Spencer.


   III.      Data or Other Information Considered in Forming Opinions

Please see Endnotes and attached Exhibits:
   • Exhibit B – List of Materials Received
   • Exhibit C – Works Cited

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   IV.     Exhibits to be Used as a Summary of or Support for the Opinions

In addition to Endnotes and Exhibits B and C please see:
    • Exhibit D – Opinion Support
    • Exhibit E – Annotations
    • Exhibit F – Horizontal Analysis
    • Exhibits G-1 and G-2 – Data Analysis and Spreadsheet Key

No other Exhibits have been identified at this time.


   V.      List of Cases in which Expert has Testified at Trial or Deposition in Previous
           Four Years

Please see attached Exhibit H.


   VI.     Compensation

My rate of compensation for providing consulting services and/or expert testimony is four
hundred dollars ($400) per hour, billed against an initial retainer of $4000; additionally, a
minimum of $2000 is billed for testimony at trial or in deposition.

Respectfully submitted,




                                             _________________________________
                                                       John C. Villines




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Yvette Adelle Sanders et al vs. QuikTrip Corporation, and BJS
                             QT, LLC

                 Deposition of Marc Milburn

                     February 27th,2018




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                                  Milburn
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 l_   and make sure     that   we have a good environment            for   our

 2    customers    to shop, for our employees to work,               and to

 3    make sure    that our    merchandise       is   secure.

 4        A.     What abouL deLerring           third-party crime as to
 5    as it concerns people, are Lhey there for that purpose
 6    as well?

 7        A.     That is something that we use it for, as                  a

 I    deterrent.
 9        A. Are they used as a deLerrent                 aE Store 797?

10        A.     They're Ehere for lot control and obviously
11    their   presence   wil1 also support that as well as a
t2    deterrent.
13        A.     on the night        of our incident      and   at   Lhe time

T4    of the incident, are you aware there               were three

1_5   employees working        at   QuikTrip?

r-6       A.     Yes,   maram.

T7        A.     TVo   of those employees         were    in the back and
18    one was    in the front of the store. Is that typical
I9    when you have cusLomers          inside the store and outside
20    the store, Lhat you would have only one person kind of
21-   on the floor?

22        A.     That, could happen.

23        A.      Should   that     hapPen?

24        A.      Depending on what       their       work tasks and what

25    their    assigrrments were, thaL        is a possibility        and that




                                      AccuTran, lnc.
                                      770-426-9705
  Case 1:17-cv-02341-CC Document
                             Marc84-1 Filed 04/20/18 Page 50 of 82
                                  Milburn
                                                                                    62

 l_                                  DISCLOSURE

 2     STATE OF GEORGIA:

 3     COBB COUNW:

 4
                           DEPOSTT]ON      OF:    MARC MILBURN
 5

 5
                 Pursuant      to Article 10.8. of the Rules          and
 7
       Regnrlations    of the      Board   of Court Reporting of Judicial
 I
       Council   of Georgia, I       make Lhe      following disclosure:
 9
                  I   am   a Georgia Certified Court Reporter act.ing
L0
       as an agenE of AccuTran, Inc., who was contacted by the
l_1
       offices of     Law & Moran,      to provide court reporting
I2
       senrices for this deposition. I will noL be taking this
1_3
       deposiuion under any contract              that is prohibited   by
1-4
       o.C.c.A. 1"5-14-37 (a) and (b) .
t_5
                  AccuTran,        Inc.,   has no conLract    to provide
L6
       reporLing services wiuh any party to the case, ald
'J.7

       counsel   in the case, or           any reporter   or reporting     agency
l-8
       from whom a     referral might          have been made    to cover this
19
       deposition. AccuTran, Inc. wil1 charge its usual                    and
20
       customary rates       to all parties in the case'           and a
2L
       financial discount will not be given to               any   party to
22
       this lit.igation.
23


             {le*     (Q/'''^1i*
24
                                           ,   ccR# 8-2007 DAIE:
25     Debbie C. Her::aings




                                       AccuTran, lnc.
                                       770-426-9705
  Case 1:17-cv-02341-CC Document
                             Marc84-1 Filed 04/20/18 Page 51 of 82
                                  Milburn
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 L                             CERTIF]CATE

 2

 3    STATE OF GEORGTA:

 4    COBB COUNTY:

 5
               I   hereby   certify that the foregoing transcript
 6
      was taken down, as stated      in the caption,        and the
 7
      questions and answers thereto were reduced to
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      typewriting under my direction; that, the foregoing             pages
 9
      1 through 63 represent a true and correct transcript of
10
      the evidence given upon said hearing.
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               The witness     did   reselare the   right to read and
l2
      signr the transcripL.
13
               This, the 27th     daY   of   Febmary 20L8.
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24                            DEBBTE   C.    HEIiNTNGS, CCR-B-2007
                              My conrnission erqgires the
25                            l-st day of April     201-9




                                 AccuTran, lnc.
                                 770-426-9705
   Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 52 of 82




              EXHIBIT G
  Quick Trip Incident Report 4/6/14
   (NOTE: TO PRESERVE CONFIDENTIALITY, NAMES ARE
  REDACTED FROM THIS REPORT. THE FULL, PROTECTED
RECORD HAS PREVIOUSLY BEEN PRODUCED TO PLAINTIFF’S
                      COUNSEL)
Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 53 of 82
Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 54 of 82




           EXHIBIT H
    Police Report Case 14-02297
                                     Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 55 of 82


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                     Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 57 of 82


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Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 58 of 82




            EXHIBIT I
  Deposition of Kevin Thornton
     Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 59 of 82
Kevin Thornton                2/2212Ot8                                           1


   l_               IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
   2                          ATI,ANTA D]V]S]ON

   3
         YVETTE ADELLE SANDERS, Individually as the surviving
   4     parent, and YVETTE ADELLE SANDERS, as Administratrix               of
         The Estate of ANDREW THOMAS SPENCER, deceased,
   5
                   Plaintiffs,
   6
         vs.                     No    l-: l-7-CV-02341--WSD
   7
         QU]KTRIP CORPORATION,
   I
                   Defendant.
   9

 1_0


 1- 1-           V]DEOTAPED DEPOS]T]ON OF KEVIN THORNTON
                     TAKEN ON BEHALF OF THE PLA]NTIFFS
 L2             ON FEBRUARY 22, 20t8, BEGINNING AT 9:57 A.M
                                 ]N TULSA, OKLAHOMA
 1-3                  REPORTED BY        KARLI PIANALTO,         CSR


 L4                                   APPEARANCES

 l_5     ON BEHALF OF THE PLAINT]FFS

 L6                Ms. Elizabeth       Rose
                   LAW & MORAN
 L7                563 Springs Street
                   Atfanta,     GA 30308
 t_8               (404)8r-4-s700
                   e 1 i z abeth@l awmoran     . com
 L9

 20      ON BEHALF OF THE DEFENDANT:

 2L                Ms. Nichole C. Leet
                   GRAY, RUST, ST. AMAND,              MOFFETT   & BRIESKE, LLP
 22                1-700   Atlanta    Pl-aza
                   950 East Paces Ferry Road
 23                Atlanta, GA 30325
                   nleet@grsmb. com
 24

  25     VIDEOGRAPHER:     Mr. ,fim Langolis



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     Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 60 of 82
Kevin Thornton                2l22l2Ot8                               29

      l-        A     WouLd     you do any sort of after action review to
      2    det,ermine whether     the security features that were in place
      3    functioned at the time of the incident?
      4         A     Typically, iL's one of those that the incident
      5    says that the employee hit t,he alarm and the details or
      6    whatever's in there. So it shows that the process worked,
      7    so there was nothing to go back and follow up on.
      B         A     Following any incident that occurred in the
      9    Atlanta market, have you ever placed a security guard in                      a

 l_0       store in responge to one of those incidents?
 1-   l-        A     Not that I can recall right                 now.

 L2             A     OkaY.

 l_3            A     And if I can go back on that, it's                 at      the   one

 1-4       incident at 97, it was rea11y kind of                     I think   Tony

 1-5       wanted to further crowd control, but the timing of the
 L6        incident's there along with him wanting additional
 t7        securiLy, but it was from an employee request.
 1_8            A       What    incident are you talking about? Sorry. I
 T9        need you   to clarify for the record.
 20             A       It was in reference Lo a shooting or gunshots
 2!        being fired on the property.
 22             A       Sure.

 23             A       And it was all in the timing of, f think, the

 24        club -- one of t,he clubs over there was open on Saturday
 25        nights as well at that time. So it all kind of                        the


                    P   rstr'&s I a na I             ffrporfart
                                    8ffi,4r8.100ts
                                  $rww,pr,fi tr{p{114fi re,ff}m
     Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 61 of 82
Kevin Thornton                2122l2Ot8                               30

  1_   timing of it just         happened          to be along the same.   He

  z    wanted additional security for the crowd, but along the
  3    same   time, that's       when      the incident happened, the shooting
  4    incident.
  5           A       Okay. So Tony Bolling, I bel-ieve is his Last
  6    name, requested         a security guard around the          same   time   as

  7    there   wact   a shooting in the QuikTrip parking lot?
  8           A       Right.
  9           A       Okay. And you guys added an additional night of
 r_0   security    guards?

 11-          A       Yes.

 t2           A       Why    are there security guards at certain
 l-3   QuikTrip Locations?
 L4           A       The employees have asked for it for whatever

 1_5   reason, various reasons. IL could be anything from people
 L6    are parking, leaving their cars on the lot/ so we need to
 1"7   make sure        that somebody's there to tell- them to         move them

 1_8   aIong, Lo, you know, the fact that there's crowd overflow.
 l_9           A      Do they ever request eecurtty guards because

 20    they feel unsafe?
 2L            A        I've not had anyone request because they don't
 22    feel safe.
 23            A        Do you agree       that QuikTrip provides security
 24    guarde at stores to make them safer?

 25                     MS. LEET: Object             to the form.

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                                $nifiY; p r, s r'*pfi * r 6, rc m
     Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 62 of 82
Kevin Thornton                2/22/2Or8                               39

      L         A     I just said if it was like a skate rink.                     A

  2        skating rink.      And we had            -- where was that     it   may have

      3    been off of V[est1y Chapel they had a skating rink one time
      4    and it was briefly open.
      5         A     When    there are speciaL eventg in the area of                     a

      6    QuikTrip Location, do you hire security specificall-y in
      7    reLation to the hours of the event? Ilave you ever                      done

      8    that as divigion     manager?

      9         A     In terms of special events in the -- in the
 l_0       area, what do you mean special events in the area?
 1_   1-        A     I mean, if you knew there was going to be                     an

 t2        event that brought a 1ot of people to the area of                   a

 l-3       specific QuikTrip location, would you then hire security
 L4        in relation to the        event?

 l-5            A      If the store team requested it.
 L6             A     Why was      there a security guard on Friday                and

 L7        Saturday nights at the QuikTrip on 3040 Buford Highway?
 1_8            A      Because     the employees had asked for security
 L9        because   of crowd conErol.
 20             A      Are you familiar with gtore 848 located at                      5500

 2L        Buford Highway?
 22             A      848?    Yes.

 23             A      And are you familLar                with store 721 Located at
 24        3292 Buford Highway?

 25             A      Yes.


                     P r*far;x I s n a {                #rporfrr*
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     Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 63 of 82
Kevin Thornton                 2l22l2OL8                              66

      1_                                      .JURAT

      2      YVETTE ADELi,E SANDERS,            eL a1. vs. QUIKTRIP      CORPORATION

      3              I, Kevin Thornton, do hereby state under oath
      4    that I have read the above and foregoing deposition in its
      5    entirety and that the         same      is a full,     true and correcL
      6    transcription of   my testimony so                given at said time    and

      7    place.
      I
      9


 l-0

 l-   1-             Signature of Witness
 L2

 l_3


 L4                  Subscribed and sworn to before me, the
 1_5       undersigned Notary Public in and for the State of Arkansas
 t6        by said witness, Kevin Thornton, on Lhis                          day

 L7        of                       ,    20L8.

 1_8


 19

 20

 21

 22                  NOTARY PUBLIC

 23                  MY COMMISS]ON EXPfRES:

 24                  JoB No. l.279L6

 25


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     Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 64 of 82
Kevin Thornton                 2122l2Ot8                              67

   L                                   CERTIFICATE
   2                   I, Karti Pianalto, Certified Shorthand Reporter,
   3     do hereby certify that the above-named Kevin Thornton                                   was

   4     by me first     duly sworn to testify the truth, the                            whole

   5     Lruth, and nothing but the truth, in the case aforesaid;
   6     that the above and foregoing deposition                           was   by   me taken

   7     and transcribed pursuant to agreement, and under the
   8     stipulations hereinbefore set out; and that I                              am   not   an

   9     attorney for nor relative of any of said parties or
 l-0     otherwise interested in the event, of said action.
 1_ 1_                 IN   WITNESS WHEREOF,               I have hereunto set            my hand

 I2      and official       seal this l-st day of March,                    2018,

 l_3


 L4

 l_5

 L6

 L7

 1_8


 l_9

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 23

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 25                                 I(ARLI PIANALTO,                 CSR



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  Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 65 of 82




              EXHIBIT J
Deposition of Anthony “Tony” Bolling
Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 66 of 82




                                                                 Certilied Copy Transcript




                      In The Matter Of:

Yvette Adelle Sanders et al vs. QuikTrip Corporation, and BJS
                          QT, LLC

               Deposition of Anthony Bolling

                     Novemb er 2nd,2017




                              AccuTrano Inc.
                   - - - c erti/ied c ourt r ep CIr t ers - ^'

                       707 Whitlock Avenue
                             Suite A42
                      Marietta, Georgia 30064
                           770-426-9705
                           770-426-9706
                    production@accutrancr. com
                  www. accutra n co u rtreporters. co m
  Case 1:17-cv-02341-CC Document
                          Anthony84-1 Filed 04/20/18 Page 67 of 82
                                   Bolling
                                                                        1-3


 l_   Monday, and two     of us   Monday and Tuesday.

 2         A       So if I came by the QuikTrip on                  a

 3    Sunday   night after 10:00 P.ffi., you'd be the only
 4    employee there?

 5         A       Up   until 11:00.
 6         A       UnLil 1l-:00 p.m.?
 7         A       Right. Then thatrs              when   the other
 8    assisLant geLs of f , at     l-1-:00   .


 9         A       So you have one hour            of overlap?
t_0        A       Overlap, one-hour overlaP.
LL         A       And so then from 11:00 P.m. until
t2    7:00 a.m., you'd be the only employee there?
t3         A       Well, the manager comes in.                The

1,4   sLore manager comes in at 4:30.
1_5        A       And that's both on Sunday and Monday
I6    night going int,o
t7         A       Sunday   into Monday, Lhe one I just
l-8   thatrs Sunday into Monday, the one I just
L9    explained.    Monday   into Tuesday, that's when f
20    got an overnight clerk with            me.

2t         a       Gotcha.    Two   people. So there's only
22    a few hours that you're really by yourself aL t,he
23    store?
24         A       Five, six.
25         A       During any of the nights that you



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                            Anthony84-1  Filed 04/20/18 Page 68 of 82
                                     BoIling
                                                                        L4

  1     work/ is there a security guard present?
  z          A     Friday night, Saturday night.
  3          a     Do you know any       of Lhe security
  4     guards?

  5          A     Do I know their names?
  6          a     Yes.

  7          A     Chang, Officer Chang, Officer Chris
  8     f don't know Chrisrs last       name.

  9          a     Could it be Beltwell?
L0           A     Yeah, Boswe1l.
l_ t_        o     Those    are the only    two

1,2          A     And Echols, officer Echols.
13           a     And do you know what police
l4      deparLment these    officers work for?
l_5          A     DeKalb sheriff 's office.
I6                 MS. ROSE:      Is this the     same Chang

T7      that's coming in?
L8                 MS   . LEET:     (Nods head af f irmat.ively.   )


1"9     BY MS. ROSE:

20           A     So   explain to me: As the night
2l      assisLant, yourre the only acting manager,          except.

22      for the one nighL    when   the store manager is
23      there; correct?
24                 MS. LEET: Object Lo form.

25           A      Say that again.



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                              Anthony84-1 Filed 04/20/18 Page 69 of 82
                                      Bolling
                                                                         84

 l_                CERTIF]CATE OF COURT       REPORTER

 2       STATE OF GEORGIA

 3       COUNTY OF COBB

 4                 I hereby certify that the foregoing
 5       deposition was reported as stated in the caption,
 6       and the questions and answers thereto were
 7       reduced to writing by     me;

 I                That the witness's right to read          and

 9       sign the deposition was reserved;
l_0               That the foregoing pages l- through         82

1L       represent a true, correct, and complete
L2       transcript of the evidence given on the
t_3      above-referenced date by t,he wj-tness,         ANTHONY

1,4      BOLLING, who was    first duly sworn by me;
15                That I   am   not of kin or counsel to      any

l_6      of the attorneys or parties in this case.
1,7               I do hereby disclose pursuant to Article
18       l-0.8. of the Rules and Regulat,ions of the         Board

l-9      of Court Reporting of the Judicial Council of
20       Georgia that, I am a Georgia Certified Court
2t       Reporter; that AccuTran, Inc., was cont,act,ed by
22       the attorney taking the deposition to provide
23       court reporting services for this deposition;
24       that I   am noL   taking this deposition under       any

25       contracL that is prohibited by        OCGA   l-5-14-37 (a)




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                          Anthony84-1  Filed 04/20/18 Page 70 of 82
                                   Bolling
                                                                           85

 1    and (b) or Article 7.C. of the Rules      and

 2    Regulations of the Board; and I am not
 3    disqualified for a relationship of interest under
 4    oCcA 9-tL-28 (c)   .


 5             There is no contract to Provide
 6    reporting services between myself or any person
 7    with   whom   I have a principal and agency
 I    relationship nor any attorney at law in this
 9    action, party to this action, party having        a

L0    financial interest in this action, or agent for
1l_   an attorney at law in this action, party to this
T2    acLion, or party having a financial interest in
13    this action. Any and all financial arrangements
L4    beyond my usual and customary       rates have been
l-5   discl-osed and offered to all parties.
l_6            This 14th day of November,      2017.

L7

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20


2t                               *"/,t              t   t-,ttut/M (L *t*
                              SHARON R. OVERMAN, CCR B-2363
22                            Certified Court Reporter
23

24

25




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Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 71 of 82




           EXHIBIT K
       Deposition of Alex Chang
Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 72 of 82




                                                         Certified Copy Transcript




                     In The Matter Of:

Yvette Adelle Sanders et al vs. QuikTrip Corporation, and BJS
                          QT, LLC

                  Deposition of Alex Chang

                    Novemb er 27th, 2017




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    Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 73 of 82
                                      Alex Chang
                                                                                        25

  1     shoot.ing in the parking 1ot of the subject QuikTrip?
  2         A.      I knew Lhere was          20L4? Irm aware of one, but I
  3     don'L know if thatrs the one.
  4         A.      WelI, why don't you tel1         me about   the one you are
  5     aware of.
  6         A.      There was one         two -- I think two members,      one

  7     Hispanic, one black. I believe they were in an altercation
  I     over a female or      someone    disrespected a female. And I          know

  9     about the shooting then, when that happened, buL it              was

10      basically a shooting in the air.
t_ t_       A.      Did that shooting involve assau1t rifles?
t2          A.      Yes, it did.
l_3         A.      I believe that was November 9th of 20L4. So the                   one

l4      that involves assault rifles you believe you were aware of?
L5          A.      Yes. And actually, I was working that. night           when

t6      t,hat happened.
l7          A.      You were on Lhe premises         at t,he time?
L8          A.      Yes,   ma'am.

1"9         A.      Do you have any      -- you don't have any knowledge of
20      the April 6, 20l-4 shooting?
2L          A.      NO.

22          a.      Are you aware of a March 12, 2016 shooting in              t,he

23      parking lot of the QuikTriP?
24          A.      March? Not that lrm aware of.           Only one Irm   aware

25      of is    when   your guy got shot and also the one wit,h the           AR




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   Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 74 of 82
                                   Alex   Chang
                                                                       30

  1                               DISCLOSURE

  2     STATE OF GEORGIA:

  ?     COBB COUNTY:

  4
                           DEPOSITION   OF: ALEX   CHANG
  5

  6
                  Pursuant to Article 10.B. of the Rules and
  7
        Regulations of the Board of Court Reporting of Judicial
  I
        Council of Georgia, I make t.he following disclosure:
  9
                  I   am   a Georgia Certified Court Reporter acting
L0
        as an agent of AccuTran, Inc., who was contacted by the
l_ l_

        offices of Law & Moran, to provide court reporting
12
        services for this deposition. I will not be taking this
13
        deposition under any conLract that is prohibited by
t4
        o.C.c.A. ts-L4-37 (a) and (b) .
15
                  AccuTran, Inc., has no contract to provide
L6
        reporting services with any party to the case, and
1"7
        counsel- in the case, or any reporter or reporting agency
18
        from whom a referral might, have been made to cover this
l_9
        deposition. AccuTran, Inc. will charge its usual        and
20
        customary rates to all parties in the case' and a
2t
        financiaL discount will not be given to any party to
22
        this litigation.
23

             ,{r)o* tlQ/'t"X*'
 24
                                        CCR#   8-2007   DATE:
 25     Debbie C.     Hennings




                                 AccuTran, lnc.
                                 770-426-9705
                             Alex84-1
  Case 1:17-cv-02341-CC Document      Filed 04/20/18 Page 75 of 82
                                  Chang
                                                                      31

 L                             CERTIFICATE

 2

 3    STATE OF GEORGIA:

 4    COBB COUNTY:

 5
                  I hereby certify that, the foregoing transcript
 6
      was Laken down, as sLaLed     in the caption, and the
 7
      questions and answers thereto were reduced to
 I
      typewriting under my direction; that. t.he foregoing    pages
 9
      1-   through 3l- represenL a Lrue and correct transcripL of
10
      the evidence given upon said hearing.
t_1
                  The witness did not reserve Lhe right to read
72
      and sign the transcript.
13
                  This, the 27th day of   November 201-7.
!4
15

L6

l7
18

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23
                                     iQ*" (Q,/**1o'
24                           DEBBIE C. HENNINGS, CCR-B-2007
                             My commission expires the
25                           31-st, day of March 2018




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Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 76 of 82




           EXHIBIT L
    Police Report Case 14-08852
                                    Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 77 of 82
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                      Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 78 of 82

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i'rTf\3E55É5 RE¡U5EÐ TO IÐA\TI¡Y TTiEI.IiEL.','E-ì. '-:,.r.IÐ GR'JL?'C¡ iiTrñ-EssEt iiGF"E tr\i5tDE T¡-;E EU:'Cr'í!'55 -åT TliË TIt'tE'
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   Case 1:17-cv-02341-CC Document 84-1 Filed 04/20/18 Page 79 of 82




             EXHIBIT M
  Quick Trip Incident Report 11/9/14
   (NOTE: TO PRESERVE CONFIDENTIALITY, NAMES ARE
  REDACTED FROM THIS REPORT. THE FULL, PROTECTED
RECORD HAS PREVIOUSLY BEEN PRODUCED TO PLAINTIFF’S
                      COUNSEL)
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              EXHIBIT N
  Quick Trip Incident Report 10/1/16
   (NOTE: TO PRESERVE CONFIDENTIALITY, NAMES ARE
  REDACTED FROM THIS REPORT. THE FULL, PROTECTED
RECORD HAS PREVIOUSLY BEEN PRODUCED TO PLAINTIFF’S
                      COUNSEL)
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